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             US Bankruptcy Court for the District of Delaware


               In re:                                                    Chapter 11

                           FTX Trading Ltd., et. al.                     No. 22-11068 JTD

                                        Debtors                          (Jointly Administered)


                                TRANSFER OF CLAIM OTHER THAN FOR SECURITY

            A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
            Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of
            Bankruptcy Procedure of the transfer, other than for security, of the claim referenced in this
            evidence and notice.

              Name of Transferor:                                      Name of Transferee:

              Name (Redacted)                                          Figure Markets, Inc.

              Name and Current Address of                              Name and Address where notices and payments
              Transferor:                                              to transferee should be sent:
              Name (Redacted)                                          Figure Markets, Inc.
                                                                       Dan Grueter
                                                                       650 California Street
                                                                       Suite 2700
                                                                       San Francisco, CA 94108


          Claim No./Schedule             Creditor Name             Amount                   Debtor           Case No.
             Schedule No.                Name (Redacted)     Unliquidated (stated in    FTX Trading Ltd.   22-11068 JTD
           221106806835968                                          crypto)

           Customer Code No.            Name (Redacted)         As described on         FTX Trading Ltd.   22-11068 JTD
               00207497                                           Schedule F

               Claim No.                Name (Redacted)      Unliquidated (stated in    FTX Trading Ltd.   22-11068 JTD
                 12551                                              crypto)




            I declare under penalty of perjury that the information provided in this notice is true and correct
            to the best of my knowledge and belief.


            By: _____________________                                                  Date: 9/26/2024
            Transferee/Transferee’s Agent
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                                                       Identity of Transferor


            Transferee has in its possession an Evidence of Transfer signed by the Transferor.

            In order to protect the identity of the Transferor, Transferee has not disclosed the Transferor’s
            name or address, and has not attached the signed Evidence of Transfer to this notice of Transfer
            of Claim.

            Upon written request, Transferee is prepared to provide a copy of the signed Evidence of
            Transfer to the Bankruptcy Court, the Debtors, and appropriate professionals.
